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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO

Criminal Action No. 21-cr-00229-RBJ

UNITED STATES OF AMERICA,

       Plaintiff,
v.

1. DAVITA INC.,
2. KENT THIRY,

       Defendants.



      UNITED STATES’ UNOPPOSED MOTION FOR A PROTECTIVE ORDER
           GOVERNING DISCLOSURE OF DISCOVERY MATERIALS


       Pursuant to Rules 16(d)(1) and 49.1(e) of the Federal Rules of Criminal

Procedure, the United States files this Unopposed Motion for a Protective Order

Governing Disclosure of Discovery Materials. The United States previously filed an

Unopposed Motion for a Protective Order Governing Disclosure of Discovery Materials

on August 13, 2021. See ECF No. 34. On August 19, 2021, the Court denied that

motion without prejudice. See ECF No. 36. In its ruling, the Court stated, “any

documents filed with the Court will be open to the public without restriction unless good

cause is shown on a document by document basis to restrict public access.” Id.

Further, the Court “advise[d] the parties not to file with the Court any document that the

party considers to be confidential unless it is absolutely necessary.” Id. Finally, the

Court added, “[t]he parties may redact private personal information such as an

individual's contact information, Social Security number, and medical information

without the need for leave of the Court.” Id.
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       Following this ruling, the Parties have conferred and agreed to the terms of a

revised proposed Protective Order. The United States has attached the proposed

Protective Order to this motion, and moves here for its entry. The revised proposed

Protective Order strikes a previous provision calling for the default redaction or

restricted filing of certain categories of confidential information, and is otherwise

unchanged. With this deletion, the United States believes the proposed Protective

Order complies with this Court’s practice standards. Having made this revision, and for

the reasons otherwise articulated in the United States’ August 13, 2021 motion, the

United States moves the Court to enter the unopposed proposed order.



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                             CERTIFICATE OF SERVICE

      I certify that on August 20, 2021, I filed this document with the Clerk of the Court

for the United States District Court of Colorado using the CM/ECF system, which will

serve this document on all counsel of record.

                                                s/ Anthony W. Mariano
                                                Anthony W. Mariano
